
In re Duplessis, Simon; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “H”, No. 275-904.
Granted in part; denied in part. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to handle the appeal. See Lofton v. Whitley, 905 F.2d 885 (5th Cir.1990); State ex rel. Tucker v. State, 624 So.2d 1211 (La.1993); State ex rel. Banks v. State, 92-1803 (La. 2/11/94). If appointed counsel, after a review of the record, finds no basis for assigning error on appeal, he or she may follow the procedure set out in State v. Benjamin, 573 So.2d 528, 530 (La.App. 4th Cir.1991). In all other respects relator’s application is denied.
WATSON, J., would deny the writ.
DENNIS, J., not on panel.
